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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA,

      Plaintiff,
                                                    No.: 1:19-cr-10081-IT
                    v.

(7) MARTIN FOX,

      Defendant.



                         NOTICE OF CHANGE OF FIRM ADDRESS

       Please be advised that Michael J. Pineault, counsel of record for Defendant Martin Fox,

gives notice of his new firm address:

               Michael J. Pineault (BBO #555314)
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               Tel.: (857) 445-0133
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                                            Respectfully submitted,

                                            /s/ Michael J. Pineault
                                            Michael J. Pineault (BBO #555314)
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Dated: April 19, 2019
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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 19, 2019, I electronically filed the foregoing using the
CM/ECF system, which will send electronic mail notification to all registered participants, and
paper copies will be sent to those indicated as non-registered participants.

                                             /s/ Michael J. Pineault
                                             Michael J. Pineault




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